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              EDWARD SCOTT and DEBBIE
              RICHARDS, on behalf of
              themselves and all other
              similarly situated.

                    Plaintiffs,

                     V.                                             5:19-CV-022


              NORTH AMERICAN INNS, LLC;
              SHARMA HOSPITALITY, LLC; PAUL
              D. SHARMA; and SHAUN B. SHARMA,

                     Defendants.


                                                  ORDER


                    This matter is     before the   Court on        Plaintiffs'     Motion for

              Extension of Time to File Response/Reply, dkt. no. 13.                Plaintiffs

              request that the Court permit them to file their response to

              Defendant's    supplemental   brief      in   support    of   their    converted

              motion   for   summary   judgment   21    days   after    the   close    of   the

              discovery period in this action.         The Parties have agreed in their

              joint Rule 26(f) Report to conclude discovery on October 11, 2019.

              See Dkt. No. 12.     Thus, Plaintiffs request that they be permitted

              to file their supplemental response on November 1, 2019.               The Court

              finds that good cause exists to extend the deadline for Plaintiffs

              to   file   their   supplemental    response     to    Defendants'     converted


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              motion   for    summary   judgment.       Accordingly,   the   Court   GRANTS

              Plaintiffs' Motion, dkt. no. 13.              Plaintiffs shall have until

              November   1,    2019,    to   file   their    supplemental    response   to

              Defendants' converted motion for summary judgment.




                   SO ORDERED, this 26th day of July, 2019.




                                             HON. •LISA GODBEYLWOOD, JUDGE
                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN   DISTRICT OF GEORGIA




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